Case 3:22-cv-00049-NKM-JCH Document 301-2 Filed 10/06/23 Page 1 of 5 Pageid#: 3717




                     EXHIBIT 2
    Case 3:22-cv-00049-NKM-JCH Document 301-2 Filed 10/06/23 Page 2 of 5 Pageid#: 3718




        RE: Amins/Masts - Call re arding authenticated documents
        From:            m.amini@afghanembassy.ca
        To:              "Porter, Damon (DC)" <damon.porter@lw.com>
        Date:            Wed , 17 Aug 2022 15:01:13 +0000

        Good morning Damon,

        Yes it is ready for fed ex if they show up we will gave it to them but if you want to schedule that is fine
        too.

        Best regards,

        Tamim

        From: Damon.Porter@lw.com <Damon .Porter@lw.com>
        Sent: August 16, 2022 4:43 PM
        To: m.amini@afghanembassy.ca
        Subject: RE: WiEl'Masts - Call regarding authenticated documents

        Good afternoon , Tamim,

        Thank you very much for providing us with the certification of authenticity of these documents. We
        appreciate your consular services team and Mr. Wardak's assistance in this matter. Please send us
        the hard copy version of these documents as soon as you can.

        Best regards,
        Damon

        Damon Ripley Porter

        LATHAM & WATKINS LLP
        555 Eleventh Street, NW I Suite 1000 I Washington , D.C. 20004-1304
        D: +1.202.637.2348

        From: m.amini@afghanembassy.ca <m.amini@afqhanembassy.ca>
        Sent: Tuesday, August 16, 2022 2:26 PM
        To: Porter, Difiw!~C)   <Damon.Porter@lw.com>
        Subject: RE: •••• •• Masts - Call regarding authenticated documents

        Good afternoon Damon,

        We have the documents filled out, signed, dated and brought some changes, hope that help, we will
        be able to send it but for now please review the attached and let me know,

        Best regards,

        Tamim

        From: Damon.Porter@lw.com <Damon .Porter@lw.com>
        Sent: August 12, 2022 10:57 AM
        To: m.amini@afghanembassy.ca




CONFIDENTIAL                                                                                                 Does 00003812
    Case 3:22-cv-00049-NKM-JCH Document 301-2 Filed 10/06/23 Page 3 of 5 Pageid#: 3719




        Cc: ashai@elbiallylaw.com; Elizabeth@qrahamlawfirmva.com ; HuqhesA@humanriqhtsfirst.org
        Subject: RE: lilll!Masts - Call regarding authenticated documents

        Good morning Mr. Amini,

        I wanted to confirm that our packet was delivered via Fedex this morning (see the attached
        email). Please let us know if you have any difficulties or concerns.

        Best regards,
        Damon

        Damon Ripley Porter

        LATHAM & WATKINS LLP
        555 Eleventh Street, NW I Suite 1000 I Washington , D.C. 20004-1304
        D: +1.202.637.2348

        From: Porter, Damon (DC)
        Sent: Thursday, August 11, 2022 4:35 PM
        To: 'm.amini@afghanembassy.ca' <m.amini@afghanembassy.ca>
        Cc: 'ashai@elbiallylaw.com' <ashai@elbiallylaw.com>; 'Elizabeth@grahamlawfirmva.com'
        <Elizabeth@grahamlawfirmva.com>; 'Anwen Hughes' <HughesA@humanrightsfirst.org>
        Subject: RE: i i l lMasts - Call regarding authenticated documents

        Dear Mr. Amini,

        Thank you for your assistance. As mentioned on our call . we would like to have the certification of the
        authenticity of these documents signed by a diplomatic or consular official in your embassy to meet
        the requirements of the local court Rules. In addition , if possible, we would appreciate if your office
        could certify the official position and signatures of the officials of the Islamic Republic of Afghanistan
        who originally signed the underlying documents. For example, for Exhibit 1 in the attached document,
        we hope your Embassy can certify Mr. Sayed Anwar Sadat's signature and former position as Acting
        Minister of the Ministry of Labor and Social Affairs. For the identification cards (Exhibit 12),
        certification that they are government records is sufficient.

        We have attached a form certification with our recommended language, but we understand your office
        may choose to use whichever language you feel is appropriate. Your office can also call me at any
        time at the number below (+1 202 637 2348).

        As I mentioned , we are sending the attached proposed Exhibits and draft Certification via FedEx
        overnight and they should arrive tomorrow morning. Thank you again for your assistance.

        Best regards,
        Damon Porter


        Damon Ripley Porter

        LATHAM & WATKINS LLP
        555 Eleventh Street, NW I Suite 1000 I Washington , D.C. 20004-1304
        D: +1.202.637.2348

        From: Porter, Damon (DC)
        Sent: Thursday, August 11, 2022 2:12 PM




CONFIDENTIAL                                                                                               Does 00003813
    Case 3:22-cv-00049-NKM-JCH Document 301-2 Filed 10/06/23 Page 4 of 5 Pageid#: 3720




        To: 'm.amini@-      nembassy.ca' <m.amini@afqhanembassy.ca>
        Subject: RE: •-,. ·, Masts - Call regarding authenticated documents

        Thank you Tamim; we appreciate your time! I think we just missed you - I'll try and call again in a
        couple of minutes.

        Damon Ripley Porter

        LATHAM & WATKINS LLP
        555 Eleventh Street, NW I Suite 1000 I Washington, D.C. 20004-1304
        D: +1.202.637.2348

        From: m.amini@afqhanembassy.ca <m.amini@afghanembassy.ca>
        Sent: Thursday, August 11, 2022 1:17 PM
        To: Porter, Damon (DC) <Damon.Porter@lw.com>
        Subject: RE•li@Wffi11~,1asts - Call regarding authenticated documents

        Good afternoon,

        Yes absolutely you can call me at any time. And today 2pm is fine

        Best regards,

        Tamim

        From: Damon.Porter@lw.com <Damon.Porter@lw.com>
        Sent: August 11, 2022 12:10 PM
        To: m.amini@afghanembassy.ca
        Cc: HuqhesA@humanriqhtsfirst.org; ashai@elbiallylaw.com; Elizabeth@qrahamlawfirmva.com;
        Ehson.Kashfi our lw.com
        Subject: • ·' • ·' Masts - Call regarding authenticated documents

        Dear Mr. Amini,

        I hope you are well. Thank you for your assistance having the documents we sent you authenticated
        by your consular services team. I am wondering whether you have time this afternoon, after 2:00 pm
        ET, to speak briefly with my colleagues (Sehla Ashai and Elizabeth Vaughan) for a few minutes.

        We had some questions from the judge in our case regarding your Embassy's current functions and
        the authentication letter, and we're hoping you can help us answer them as we re-submit the
        documents.

        We can be available any time after 2:00 pm today. Please let me know if you have time to speak?

        Best regards,
        Damon

        Damon Ripley Porter

        LA THAM & WATKINS LLP
        555 Eleventh Street, NW
        Suite 1000
        Washington, D.C. 20004-1304
        Direct Dial: +1.202.637.2348




CONFIDENTIAL                                                                                             Does 00003814
    Case 3:22-cv-00049-NKM-JCH Document 301-2 Filed 10/06/23 Page 5 of 5 Pageid#: 3721




        Email: damon. porter@lw.com
        https://www.lw.com



        This email may contain material that is confidential, privileged and/or attorney work product for the
        sole use of the intended recipient. Any review, disclosure, reliance or distribution by others or
        forwarding without express permission is strictly prohibited. If you are not the intended recipient,
        please contact the sender and delete all copies including any attachments.

        Latham & Watkins LLP or any of its affiliates may monitor electronic communications sent or received
        by our networks in order to protect our business and verify compliance with our policies and relevant
        legal requirements. Any personal information contained or referred to within this electronic
        communication will be processed in accordance with the firm's privacy notices and Global Privacy
        Standards available at www.lw.com .




CONFIDENTIAL                                                                                              Does 00003815
